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                           UNITED ST ATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION


 Nelson L. Bruce,                                  Case No.: 2:22-cv-02211-BHH-MGB

                         Plaintiff,                PLAINTIFF'S OBJECTIONS 0            r


                                                   MAGISTRATE REPORT ANI
 V.                                                RECOMMENDATION (ECF 1' 0. 130)                  ~
                                                                                                   ~
                                                   RELATED TO LEXISNEXIS                           c...,
                                                                                                   0        ;...
                                                                                                   ("")
 Pentagon Federal Credit Union; et al.                                                             -I

                                                                                                  0
                         Defendants.
                                                                                                  ·:::     '"11
                                                                                                  \0       (/I

        Comes now Plaintiff, Nelson L Bruce, above the age of 18, of the age of he majoriii,, wi°jh
                                                                                                  -.J      :··:

the exercise of any and all his natural reserved and retained rights hereby respec fully presents his

objections to Magistrate Judge Mary Gordon Baker Report and Recommenda ion(R&R) (ECF

No. 130). Plaintiff objects to the Magistrates R & R to the extent that plaintiff has ·xercised his right

to a trial by jury on all matters presented in plaintiffs 2nd Amended Verified Comp aint, to the extent

that any decisions of a magistrate or judge could be construed as a waiver of his r ght to be before a

jury on all matters and for the reasons specified below:

     PLAINTIFF PARTIALLY OBJECTIONS TO MAGISTRATE'S REJ ORT AND
   RECOMMENDATION SECTION "A (3)" <Claim under the South Cardina Financial
                 Identity Fraud And Identity Theft Protection Act)

        Plaintiff partially objects to this section of the Magistrate's R & R to the extent that the

Magistrate overlooked the fact that plaintiff is also suing LexisN exis for releasing plaintiffs consumer

report to a person (Trans Union, LLC), without express authorization by the Plaintif (see ... opposition

to LexisNexis Motion to Dismiss at "17'' referencing 11,rs 34 and 107 of plain iffs 2nd amended

verified complaint which LexisNexis has failed to dispute therefore is an undispu ed fact before the



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court. This also applies a claim for violations of plaintiff's rights to privacy/priva    rights under the

FCRA section 1681(a)(4) which the unauthorized disclosure of has caused p aintiff harm and

damages.

      PLAINTIFFS OBJECTIONS TO MAGISTRATE'S REPORT ND
RECOMMENDATION SECTION "B" Alie ed Violation of FCRA as a F rnisher under
                          1681s-2{b})

        Plaintiff partially objects to this section of the Magistrate's R & R to the ex ent that the

Magistrate by their analyses allege that, "Upon careful review, the SAC is entirely evoid of any

allegation that Plaintiff notified Trans Union of the disputed bankruptcy informati       reported by

LexisNexis. (See ... ECF No. 130 at 19)". Plaintiff objects because it appears that t e magistrate has

misconstrued and or overlooked plaintiff's 2nd Amended Verified Complaint ("SA C"). It appears

that the magistrate has not construed plaintiff's 2nd amended complaint in a light       re favorable to

the plaintiff. Plaintiff's SAVC clearly evidences that, "Plaintiff notified both the     reaus and data

furnishers that he disputed the accuracy, completeness, correctness of the informat on the Bureaus

were reporting (see ... SAVC at ,i 39)." Trans Union is a CRA therefore any claim of disputes to a

CRA included Trans Union even if not individually referenced. It can liberally be onstrued by the

above referenced paragraph that all parties to this complaint have been notified, bo      CRA' s and data

furnishers which include Trans Union and LexisNexis. Paragraph 65 of plaintiff's AVC also

evidences that, "The Furnishers have failed to report an accurate investigative/rein estigation

outcome to the CRA's that notified the parties of plaintiff's disputes". There are n facts before the

court that can construe paragraph 65 to include LexisNexis as a data furnisher ther fore it does apply

to them. The example presented in paragraph 65 is only an example, it does not           e out a dispute

received from a CRA related to the bankruptcy because is in not referenced asp           of the example.

Further paragraphs 116, 119 and 120 (pages 28 - 29 of plaintiff's SAVC) also c           t be construed as




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specific to PenFed as alleged by the Magistrate (see . ..ECF No. 130 at 19) as these aragraphs are not

referenced as being specific to PenFed accounts especially when paragraph 121 of laintiffs SAVC

clearly can be construed that the claims in paragraph 121 are "additional", and are pecific to the

PenFed accounts as paragraph 121 clearly states that:

       Additionally, the Defendants continued to report accounts which Defend ts knew or has
       reasonable cause to believe that the information is inaccurate as it is clear that by their own
       words, their internal records document the accounts was sold, assigned an or transferred to
       a debt buyer and/or external collections in this case United Holding Group d National
       Credit Corporation. Defendant continuously failed to not mark the accoun as sold,
       transferred, disputed, failed to provide accurate information regarding the tire accounts
       reported and published to the bureaus which the bureaus published to third arties;

       Paragraph 116 of the SAVC clearly and briefly states that, "Pursuant to the Act, a furnisher

of disputed information is notified by the reporting agency when the agency receiv s a notice of

dispute from a consumer such as the Plaintiff." Because plaintiff has stated in his AVC that, "the

Bureaus" (which include Trans Union as a CRA) was notified via a dispute from p intiff of disputed

information (see ... SAVC at ,i 39), it can clearly be construed that Trans Union no ified the data

furnisher (LexisNexis) of his dispute therefore plaintiff respectfully objects to the   agistrates R&R.

        In Quintero v. Garland, 998 F.3d 612, at 634 (4 th Cir. 2021) it was hel that, "district

courts must carefully consider any potentially viable legal claims that a pro se p aintiff fails to

raise, as long as the factual allegations in the complaint could support those clai s". Also

see .. .Booker v. S.C. Dep't of Corr., 855 F.3d 533,540 (4 th Cir. 2017); Willia son v. Stirling,

912 F.3d 154, 173 (4th Cir. 2018). Which is the case here. In Alley v. Ydkin C ty. Sheriff Dep 't,

No. 17-1249, at *4 (4 th Cir. Oct. 5, 2017) it was determined that "[C]laims ofl gal substance

should not be forfeited because of a failure to state them with technical precisio ," and where a

claim is potentially cognizable, the plaintiff should be afforded the opportunity o amend his

complaint or particularize his allegations, Quoting Coleman v. Peyton, 340 F.2d 03, 604 (4 th Cir.




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1965). A mere defect in the pleading does not warrant 12(b)(6) dismissal. See.. . ordon v. Leeke,

574 F.2d 1147, 1151 (4th Cir. 1978) ("pleadings should not be scrutinized with such technical

nicety that a meritorious claim should be defeated, and even if the claim is insuffi •ent in substance,

it may be amended to achieve justice."), cert. denied, 439 U.S. 970 (1978). The efore it appears

that the Magistrates findings that, "Based on the foregoing, the undersigned finds th t even if the SAC

could be reasonably construed to allege that Trans Union forwarded Plaintiffs <lisp te to LexisNexis,

it does not allege any facts showing that he sent a dispute to Trans Union (See . ..E F No. 130 at 21 )"

is not supported by facts. It appears that plaintiff is only required to provide a "sh    and plain

statement of the claim showing that the he is entitled to relief," Fed. R. Civ. P. 8(a) 2), there is no

requirement in the rules that require plaintiff to file evidence to support his claims t the

pleading/complaint stage. As long as plaintiff has presented facts especially in av rified

complaint/affidavit, it must be considered as facts before the court, prima facie evi ence as it is clear

by the record that plaintiff can clearly support the facts presented in his 2nd amend d verified

complaint. See ... United States v. Kis, 658 F.2 nd, and 526,536 (7 th Cir, 1981) Ce     Denied, 50

U.SLW. 2169; U.S.LW. March 22, 1982. ("Indeed, no more than (affidavit) is n cessary to make

the prima facie case.")

        It appears that the Magistrate is stating that the delays in this case are entir ly caused by the

plaintiff (See . ..ECF No. 130 at 21 )", I must respectfully object to this unfair statem nt which appears

to be bias and/or prejudicial to the plaintiff as such statement is clearly not support d by the events

that transpired in this case evidenced by the filings on the record by all parties to thi case. The record

clearly evidences that the delays are equally caused by defendant's multiple challe ges to plaintiffs

complaint (such as motions to dismiss and or for judgment on the pleadings), othe filings such as a

default/default judgment. The Magistrate failed consider the defendant' s multiple lings which has




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also caused delays as there were challenges. Because there was a default filed, the e was no need to

amend the complaint at that time. The SAVC was presented after the default was acated and

included information LexisNexis addressed in a motion to dismiss. Plaintiff is allo ed to amend his

complaint when justice so requires and therefore there should be no dismissal with prejudice on the

claims recommended by the magistrate. Based on the record, this case has been del yed by all parties

to this case, not just by the plaintiff as stated by the magistrate and therefore any re ommendations of

dismissal with prejudice should be denied as such a recommendation and decision ppears to be bias

and prejudicial to the plaintiff and a violation of his due process rights.

                                            CONCLUSION

        For the reasons specified above, Plaintiffs 1682s-2(b) claims should no be dismissed nor

dismissed with prejudice against LexisNexis as suggested by the Magistrate's          & R. Dated this

'11:h. day of October, 2023.
RESPECTFULLY PRESENTED,



                                                         Nelson L. Bruce, Propria ersona, Sui Juris
                                              "All Natural Rights Explicitly Rese ed and Retained"
                                             c/o P.O. Box 3345, Summerville, Sou Carolina 29484
                                                                               Pho e: 843-437-7901




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has b en mailed to the

party/parties below via the: UNITED STATES POST AL SERVICE by the U ITED ST ATES

POST OFFICE via First Class Mail and by the Court's CM/ECF system.           ated this ~

Day of October, 2023.


 SENT TO:
William J. Farley III
Troutman Pepper Hamilton Sanders LLP
301 S. College Street, Suite 3400
Charlotte, NC 28202
Counsel for Defendant LexisNexis Risk Solutions
Inc.




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